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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 SHS ACK, LLC,
                                                               ORDER
                          Plaintiff,
                                                               21-cv-06277 (PMH)
 v.

 STUART SILBERBERG,

                           Defendant,
 ---------------------------------------------------------X

PHILIP M. HALPERN, United States District Judge:

        Counsel for all parties appeared via telephone for a conference today at 2:00 p.m.. Oral

argument was had on the record.

        For the reasons indicated on the record and law cited therein, defendant’s motion to transfer

venue to the United States District Court for the District of Massachusetts is GRANTED.

        Accordingly, the Clerk of the Court is respectfully directed to transfer this action to United

States District Court for the District of Massachusetts pursuant to Local Civil Rule 83.1.


SO ORDERED:

Dated: White Plains, New York
       December 22, 2021
                                                    ____________________________
                                                    Philip M. Halpern
                                                    United States District Judge
